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                      EXHIBIT 3
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    From:            Christopher Greene
    To:              "KarenD@vawd.uscourts.gov"
    Cc:              "alevine@cooley.com"; "bryan@bjoneslegal.com"; "David Campbell"; "dmills@cooley.com";
                     "isuecrooks@comcast.net"; Julie Fink; "Justin Gravatt"; "jlibling@bsfllp.com"; "kdunn@bsfllp.com";
                     "pbowman@bsfllp.com"; "rcahill@cooley.com"; Roberta Kaplan; "Mike Peinovich";
                     "richardbspencer@icloud.com"; "James Kolenich"
    Subject:         Sines v. Kessler, et al.
    Date:            Tuesday, April 17, 2018 9:38:35 PM


    Dear Judge Hoppe,

    Plaintiffs in the above-captioned matter write to apprise the Court of certain Defendants’ failures to
    abide by the Court’s March 26, 2018 Order. ECF No. 287. Pursuant to the Order, the deadline for
    Defendants to respond to Plaintiffs’ discovery requests, which were served on January 25, 2018, was
    April 16, 2018. As of this writing, Plaintiffs have not received discovery responses from Defendants
    Richard Spencer, Vanguard America, Robert Ray, Eli Mosley, Matthew Parrott, or the Traditionalist
    Worker Party.

    Today, Plaintiffs emailed the six delinquent Defendants to inquire as to the status of their discovery
    responses. After receiving Plaintiffs’ email, James Kolenich—counsel for Defendants Vanguard
    America, Robert Ray, Eli Mosley, Matthew Parrott, and the Traditionalist Worker Party—called
    Plaintiffs’ counsel seeking an extension of the deadline to the end of this week. Defendant Spencer
    responded by email, explaining that he had been sick on Monday, April 16, and asking for an
    extension until Wednesday, April 18.

    To reiterate, not one of these six Defendants requested that Plaintiffs consider a request for an
    extension of the April 16 Court-ordered deadline prior to that deadline having expired. As a result,
    Defendants are currently in contempt of the Court’s Order. Accordingly, Plaintiffs would request
    that the Court schedule a telephonic conference with the Parties to determine how to proceed,
    including how best to insure that the Court’s orders will be complied with by all the parties going
    forward, as well as the possible imposition of sanctions pursuant to Rule 37(b)(2).

    Sincerely,

    Christopher B. Greene
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    (929) 294-2528
